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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff(s),              CASE NUMBER: 05-80025
                                               HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                        ORDER

      This matter is before the Court on the Government’s “Motion in Limine to Exclude

the Use and Mention of Polygraph Evidence During the Guilt Phase and During the

Penalty Phase of Trial.” (Doc. #521).

      On July 2, 2010, the Court GRANTED IN PART the Government’s motion, and

HELD IN ABEYANCE part of the Government’s motion. See Doc. #561. The Court

said it would hold an evidentiary hearing before the penalty phase to determine whether

the polygraph examination results of Robyn Stephens, Johnnie Allen, and Elliott

Phillinganes, are admissible at the penalty phase.

      An evidentiary hearing was held on August 5, 2010. Mr. Samuel Ruffino, a

former FBI agent who administered the polygraph examinations in question,

demonstrated to the Court his qualifications as a polygraph examiner, and presented

convincing evidence that the examinations were peer-reviewed, accurate, and that

polygraph examinations generally, are relied upon by the Federal government in making

important decisions, such as whether high-ranking federal officials should be granted


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security clearances.

       The Government’s motion is GRANTED IN PART, DENIED IN PART, AND

RESERVED IN PART.

       The Government’s motion is GRANTED with respect to the polygraph

examination results of Johnnie Allen. The polygraph examiner determined that her

results were truthful, and O’Reilly agreed that he will not introduce her results.

       The Government’s motion is DENIED as to the polygraph examination results of

Elliott Phillinganes, a security guard who worked with Norman Anthony Stephens the

night he was killed. Mr. Ruffino concluded that Mr. Phillinganes’ answers to the

following questions indicated deception:

       Question:       Did you help plan [the Dearborn Federal Credit Union]
                       robbery?

       Answer:         No.

       Question:       Do you know for sure who committed that robbery?

       Answer:         No.

       These results are relevant to 18 U.S.C. §3592(a)(4) (“Another defendant or

defendants, equally culpable in the crime, will not be punished by death), and the

probative value is not outweighed by the danger of creating unfair prejudice, confusing

the issues, or misleading the jury. See 18 U.S.C. §3593(c). O’Reilly may introduce Mr.

Phillinganes’ polygraph examination results during the penalty phase.

       The Court RESERVES its ruling as to the polygraph examination results of Ms.

Stephens, Mr. Stephens’ wife. Mr. Ruffino concluded that Ms. Stephens’ answers to the

following questions indicated deception:

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        Question:       Did you know [the Dearborn Federal Credit Union] robbery
                        was going to occur before it happened?

        Answer:         No.

        Question:       Are you withholding information about [the Dearborn Federal
                        Credit Union] robbery from the FBI?

        Answer:         No.

        At this juncture, the Court finds that any probative value of Ms. Stephens’

polygraph examination results is outweighed by the danger of creating unfair prejudice,

confusing the issues, or misleading the jury. See 18 U.S.C. §3593(c). However,

circumstances may develop during the course of Ms. Stephens’ examination that might

change this preliminary ruling.

        IT IS ORDERED.



                                                 s/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: August 6, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 August 6, 2010.

 s/Linda Vertriest
 Deputy Clerk




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